           Case 16-40200               Doc 84         Filed 01/17/18 Entered 01/17/18 04:22:12         Desc Final
                                                          Decree Page 1 of 1
Information to identify the case:
Debtor 1              Jon Calvin Wehunt III                                  Social Security number or ITIN   xxx−xx−1791
                      First Name   Middle Name   Last Name                   EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                     Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                             EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Western District of North Carolina

Case number: 16−40200



                                                             FINAL DECREE

The estate of the above named debtor has been fully administered.

IT IS ORDERED THAT:

       ♦ Steven G. Tate is discharged as trustee of the estate of the above named debtor and the bond is cancelled.
       ♦ The chapter 13 case of the above named debtor is closed.


Dated: January 17, 2018
BY THE COURT



J. Craig Whitley

United States Bankruptcy Judge


Electronically filed and signed (1/17/18)
